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                             EXHIBIT 4
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Begin forwarded message:

     From: Erlend Olson <EOlson@tgi-hq.com>
     Date: August 2, 2021 at 2:53:23 PM EDT
     To: Gonzalo Gil <ggil@aithre.com>, Steve Buscher <sbuscher@tgi-hq.com>
     Cc: Bill Herrera <bherrera@bulltick.com>, Javier Martin Riva
     <jmartin@bulltick.com>, "Candelaria, William"
     <william.candelaria@dlapiper.com>, Jamil Swati <jswati@narva.co>
     Subject: Re: [External] URGENT -


     Gonzalo,

     We had permission in writing for the Bulltick/Aithre deal. No question about it,
     conditioned on so long as BT/AT was subordinate to Brevet as we all discussed,
     which you are as far as I understand. I am commenting quickly here to help
     reduce stress this no doubt has caused on your end! We are working on some
     issues with Brevet, and they are attempting to extort money from us, so this
     hardball tactic of them sending you this letter is, I am sorry to say, no surprise. For
     avoidance of doubt this email is not an official response of the company of course
     and we don't have our counsel against Brevet here copied yet (Proskauer), but
     suffice to say this has been forwarded to them now and there is no small amount
     of anger with Brevet for doing this. I probably should NOT take a call without our
     counsel on the line in the interest of atty-client privilege and all that, so let us get
     with them and revert back asap.

     -E


     From: Gonzalo Gil <ggil@aithre.com>
     Sent: Monday, August 2, 2021 11:46 AM
     To: Erlend Olson <EOlson@tgi-hq.com>; Steve Buscher <sbuscher@tgi-hq.com>
     Cc: Bill Herrera <bherrera@bulltick.com>; Javier Martin Riva <jmartin@bulltick.com>;
     Candelaria, William <william.candelaria@dlapiper.com>; Jamil Swati
     <jswati@narva.co>
     Subject: [External] URGENT -

     Dear Erlend,

     Enclosed herewith please find the communication we received from Steptoe, counsel
     to Brevet. We need to schedule a call with you as soon as possible. We need to
     understand what is going on.

     Thank you,
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Gonzalo

GONZALO GIL
Aithre Capital Management
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Email: ggil@aithre.com




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